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         NOTICE TO COUNSEL OF RECORD AND PARTIES

                Drew Findling; Lynsey Morris Barron; Marissa Helene Goldberg
 TO:

 FROM:          Ciarra Oduka               , Deputy Clerk

 DATE:          11/4/2022

 CASE NO.:      USA v. Hill
                1:21-cr-00143-ELR-CCB-1
 SUBJECT:       RECLAMATION AND DISPOSITION OF DOCUMENTARY EXHIBITS



Pursuant to Local Rule 79.1(D), you are hereby notified that the documentary exhibits in
the above styled case will be disposed of if you have not recovered same within 30 days
from the date of this letter.¹ Any audio and video exhibits will be retained until after the time
for appeal has expired, or in appealed cases, until entry of the appellate court's mandate.

Please date and sign this Notice to acknowledge receipt, indicate how the exhibits should
be handled, and electronically file the signed Notice using the Exhibit Disposition
Notification event in CM/ECF. The event is located under the Other Documents heading.

(If you will be picking up exhibits, please allow at least 24 hours from the filing of your
notice to ensure the exhibits are ready for pickup.)

Receipt of this Notice is hereby acknowledged.
                                                                (Signature)

    Documentary Exhibits will be picked up no later than
                                                                              (Date)

    Documentary Exhibits may be destroyed.                               (Initials)

Note: If someone other than the attorney of record will be picking up exhibits, a letter of
authorization from the attorney of record is required.

Exhibits Received by:
                                        (Signature)

This            day of                                 , 2022


¹ The exhibits have been uploaded to the electronic file which is the official record of the court.
